         Case 2:14-cv-00592-MJP Document 52 Filed 07/09/15 Page 1 of 1




      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE



    ROGER SINCLAIR WRIGHT,                           JUDGMENT IN A CIVIL CASE

                         Plaintiff,                  CASE NUMBER: C14-592 MJP

           v.

    CHRISTOPHER GREGORIO,

                         Defendant.



       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

X      Decision by Court. This action came to consideration before the Court. The issues have
       been considered and a decision has been rendered.

       THE COURT HAS ORDERED THAT the case is dismissed without prejudice for failure

to prosecute.



       Dated July 9, 2015.

                                              William M. McCool
                                              Clerk of Court

                                              s/Rhonda Stiles
                                              Deputy Clerk
